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   EXHIBIT 1
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                           Enuironmental Health d- Safety Seruices


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                                                                                  October 25,2019
                                                                                 Project No. 19145


Mr. John M. Kalas, Esq.
Hollingsworth LLP
1350 I StNW
Washington, DC 20005

RE: In Re: Roundup Prods. Liab. Litig.
           U.S. District Court for the Northem District of California
           Case No. l6-MD-2741

           Jaime Alvarez Calderon v Monsanto Company
           Civil No. : 3 :16-md-27 4lvc

Dear Mr. Kalas:

Thank you for the opportunity to provide my expert opinions in connection with the above
referenced matter. This summary of opinions is in response to your request for my review of the
relevant exposure and industrial hygiene data and case-specific information and summarizes my
opinions concerning Mr. Jaime Alvarez Calderon's alleged exposure to Glyphosate from his use
of Roundup@ branded herbicides. The following opinions are based on my review and/or
consideration of the materials listed in Attachment A and based upon my site visit to Mr.
Alvarez's home on September 9,2019 as well as on my training and expertise. A copy of my
current CV is attached in Attachment C. A statement of my compensation is listed below.
Attachment D is a list of cases in which I have testified in trial or deposition for the past four
years. As new information becomes available, I reserve the right to alter or supplement these
opinions.

My opinions are stated to a reasonable degree of professional and/or scientific certainty, and are
based on my professional education, training and more than 40 years of experience, as well as
my knowledge and review of the pertinent scientific literature and materials customarily relied
upon and generally accepted by experts in the fields of industrial hygiene and occupational
safety, my knowledge and review of applicable industry standards and practices, and the
particular facts of this case.
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Background and Qualifications

My qualifications, background and publications are summarized in the attached Curriculum
Vitae (CV) which can be found in Attachment C. Briefly, I have been engaged in the field of
occupational health and safety for over 40 years. I have a Bachelor of Science degree (BS) from
Oakland University at Rochester, Michigan (1972) and a Masters of Public Health degree (MPH)
from the University of Michigan at Ann Arbor, Michigan (1974).
I am certified by the American Board of Industrial Hygiene in the Comprehensive Practice of
Industrial Hygiene and have been so continuously since 1980 (last re-certified in 2018). In 2008,
I was awarded the Fellow Award by the American Industrial Hygiene Association (AIHA) for
my contribution to the practice of Industrial Hygiene. I have been a member of AIHA since
1973 and have served in leadership positions on several of their technical committees including
Hygienic Guides and Construction Safety. I have also held several leadership positions with the
Northern California Section of the AIHA, including President during 1984-1985. I am a
diplomate of the Academy of Industrial Hygiene. I also serve as a Board member on the
California Industrial Hygiene Council (CIHC) and have done so since 2006. I serve on the
Cal/OSHA Advisory Committee as a Science Member. I have served as a committee member on
several Cal/OSHA Technical Advisory Committees, including hazard communication, minimum
ventilation, asbestos, Title 8 reform, sensitizing substances, and others.
I have authored or co-authored three books and more than two dozen papers on industrial
hygiene and exposure to hazardous substances in occupational settings, and I have presented
numerous technical papers at professional conferences. I have personally reviewed and
conducted hundreds of assessments for various potentially hazardous substances, including
pesticides. The categories of environmental stresses I am routinely asked to evaluate include
chemical, biologic, physical, and ergonomic. I evaluate these stresses on the basis of observation
using my experience and training, and with the aid of quantitative and qualitative measurement
techniques.
Currently, I am the President and a Senior Occupational Health and Safety Consultant of The
Cohen Group, an occupational health and safety consulting firm I founded in 1980. Prior to The
Cohen Group, I was employed by the Aluminum Company of America, Stanford Research
Institute (now called SRI International), Intel Corporation, and Hewlett Packard Company (H-P).
At H-P, I was the Manager of Corporate Industrial Hygiene and Director of the Environmental
Laboratory, an AIHA-accredited laboratory. I was the Corporate Industrial Hygienist and
Assistant Manager of Corporate Health and Safety for Intel Corporation. At SRI, I was an
industrial hygienist and project manager where I conducted applied research, primarily for the
National Institute for Occupational Safety and Health (NIOSH). Much of my research efforts for
NIOSH involved characterization of exposures to chlorinated hydrocarbons and engineering
control studies. While employed at Alcoa, my work involved both industrial hygiene and
environmental issues primarily at domestic smelting operations.
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Summary of Information on Mr. Alvarez’s Exposure to Roundup®-branded Products and
Other Relevant Products
Based on the sworn testimony of Mr. Alvarez (through a translator) and other case-specific
materials, I was able to obtain the following information concerning Mr. Alvarez’s alleged
exposure to glyphosate, the manner in which he used Roundup®-branded products, and other
relevant data pertinent to my exposure assessment.
      Mr. Alvarez was born September 21, 1954 in Mexico City, Mexico. He moved to the
       United States, specifically California in 1979.
      Mr. Alvarez worked as a landscaper at Sutter Home Vineyard from 1986 to the present.
       Previously, he had worked at a restaurant in California for 3 to 4 years. He then moved
       to Idaho to pick potatoes. He stayed in Idaho for one year, and then moved back to
       California to work at the same restaurant for “a few months.” No information was
       available regarding whether Mr. Alvarez worked near chemicals associated with NHL at
       his other workplaces.
      In 2014, Mr. Alvarez was diagnosed with Non-Hodgkins Lymphoma (NHL). He
       testified that he smoked for approximately 15 years until he quit in 2002.
      Mr. Alvarez testified that he began to use Roundup in 1986 and used the product until
       2017 (31 years), solely at Sutter Home Vineyard. He used Roundup “to control weeds
       around the buildings, aggregate, and fence perimeter.” [PFS, p. 9]
      Mr. Alvarez stated that he did not use Roundup or any pesticides at his home. [Pg. 37,
       58] He testified that he used Roundup Pro [Concentrate], which he mixed [Pg. 38, L24-
       25] and which involved shaking the Roundup with the water [Pg. 56, L5], though his
       Plaintiff Fact Sheet states that he also used Roundup-Ready-to-Use Weed & Grass Killer
       III. When questioned about his use of this product he stated he “only” used the
       Concentrate. [Pg 39, L10] He says that he recalls spilling the solution while mixing
       Roundup but stated he “washed it off like it said.” [Pg. 73, L20-21] He says he used the
       product every 2 days during the spring months. [Pg. 40, L. 8] The Plaintiff Fact Sheet
       states the he used the product less frequently in the summer and fall months, and
       considerably less frequently in the winter months. He testified that on days he sprayed he
       would try to spray the product for half a day, unless it was windy. [Pg. 58]
      Mr. Alvarez testified that he would mix 5 oz of solution with 3 gallons of water. He
       further stated that the mixture would last “45 minutes, something like that” and that in a
       typical day when he used Roundup, he would make up the mixture 3 or 4 times a day. [Pg
       13]
      Mr. Alvarez testified that he typically would try to avoid spraying Roundup on windy
       days. [Pg. 58, L8-9] He would spot spray the Sutter Home property for one-half of a day
       for weeds. [Pg. 14 L10] He used the “mist” setting on the sprayer to spray along fence
       lines [Pg 56, L10-17] He testified that there were times when spraying with mist setting
       it would blow back on him and he would always wash it off. When asked if there were
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       times that he would keep working after the solution got on him, he stated, “No. I went to
       wash it off and keep working.” [Pg. 73, L13] There were times when he mixed Roundup
       and it would spill on him, but again he stated he washed it off. [Pg. 73, L20-21]
      Mr. Alvarez testified that he always used a three-gallon backpack sprayer and a hand
       sprayer occasionally. [Pg. 40-41] He would adjust the nozzle, calibrate the sprayer, and
       clean it with water after spraying. [Pg. 56-57] He testified the Roundup spray would go
       three feet. [Pg. 58, L1-3]
      Mr. Alvarez stated that he wore rubber gloves, either a short or long-sleeved shirt, jeans,
       and rubber boots. [Pg. 41- 42]
      He claims the backpack sprayer broke on two times and soaked his entire back, as well as
       his head and neck. On those occasions, he went to the bathroom and washed his face.
       [Pg. 42-43] He attributes these soaking events to his co-workers loosening the hose
       attached to the backpack sprayer. [Pg. 44]
      He testified that he was never trained or licensed as a pesticide applicator. [Pg. 39 L16-
       21] He also stated that because he could not read English, he never read the Roundup
       label, but based the use (mixing) of the product on instructions he received from the
       individual who sold him the product. [Pg.40, L 15-21].
Opinions


   1. Based on Mr. Alvarez’s sworn testimony concerning his work with Roundup, it is my
      professional Industrial Hygiene opinion that his exposure to Glyphosate would be well
      within acceptable limits of exposure, if he was exposed at all.
Mr. Alvarez testified that he began spraying Roundup in 1986 and continued through 2017. He
stated that we would spray at the various Sutter Home properties, roughly every two days during
the spring. The Plaintiff Fact Sheet stated that Mr. Alvarez would spray less often in summer
and fall, and considerably less often in the winter. He further stated that the mixture would last
45 minutes, and that in a typical day when he used Roundup, he would make up the mixture 3 or
4 times a day. He also stated he would spray for a half of a day.
Mr. Alvarez stated the he only used Roundup Concentrate that he would mix, but the Plaintiff
Fact Sheet states that he also used pre-mixed Roundup. He answered that he never read the label
and was not a licensed pesticide applicator. He would spray with either a backpack sprayer or a
hand sprayer. When mixing and applying Roundup, he stated that he would wear jeans, rubber
boots, rubber gloves, and either a short- or a long-sleeved shirt. He testified that when he got
Roundup on his back after the back pack sprayer broke, he went to a bathroom and washed his
face.
In an attempt to determine Mr. Alvarez’s dermally absorbed dose of Glyphosate, I made very
conservative estimates of exposure which are shown in my calculations [See Attachment B].
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The basis for these calculations is the American Industrial Hygiene Association publication on
mathematically estimating occupational exposure to chemicals, specifically Chapter 13 which
details dermal exposure modeling.1 The values used for the calculations were Mr. Alvarez’s
testimony and the information obtained from the scientific literature. Furthermore, when there
were unknowns, conservative estimates were made. These values are described below.
Although Mr. Alvarez testified that he would mix 5 oz of solution with 3 gallons of water, the
proper mixture is 6 oz of solution with 1 gallon of water. For my calculations, I will assume Mr.
Alvarez misspoke and used the proper mixture.
A dermal absorbed dose rate was calculated based on Mr. Alvarez’s average daily usage rate,
which is referred to as an “event”. The basis for this calculation is the calculated average time of
spraying per day based on Mr. Alvarez’s testimony.
The scientific literature reports the flux (or dermal permeability) for Glyphosate to be between
0.01 to 0.059 ug/cm2/hr (when adjusted for the same units of measure). For this calculation, I
used a peer-reviewed reported flux for Glyphosate in the literature [Neilsen 2009].
Although Mr. Alvarez did not provide the frequency with which he may have had some of the
spray solution land on his skin during his work spraying, it is clear from his testimony that the
application was from a back-pack sprayer with a wand which was presumably pointed downward
to the specific area where the spray solution was to be applied. Even if some misting occurred, it
is more likely than not that the spray would land on the front of the leg below the knee and
possibly on the foot. The calculation assumes that his legs (front and back and thighs) would be
the skin surface receiving some of the misting. This more than doubles the surface area of just
the lower leg skin surface. Since my calculations are extremely conservative and account for
ongoing spraying, my calculations more than account for the two instances reported by Mr.
Alvarez in which co-workers loosened the hose on the back-pack sprayer, causing him to
become wet on his back and the back of his neck and then to go to a bathroom to wash the
material off.
Concerning exposure to the legs, Mr. Alvarez stated that he wore long pants. Oltmanns 2016
evaluated the effectiveness of personal protective equipment against dermal exposure. He cited
the Fenske study evaluating lindane in a dust formulation and found the cotton workpants to
offer a 91.4% exposure reduction. Oltmanns also cited the Driver and Ross study of pesticide
handlers wearing single layer clothing including long pants and found for mixers/loaders,
flaggers, applicators an exposure reduction of approximately 90%. He cites an exposure
reduction of 91.31% from the use of backpack sprayer when the above stated clothing is worn


1
 Keil, CB, ed., et. al., Mathematical Models for Estimating Occupational Exposure to Chemicals, 2 nd Edition,
American Industrial Hygiene Association, Fairfax, VA, 2009
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(see Table 5.21). For my calculation of exposure, I assumed only a 50% reduction, an
extraordinarily conservative estimate based on the scientific literature.
Mr. Alvarez’s weight is approximately 65 kg. Based on these above conservative values, as
shown in my calculations, the dermal absorbed dose of Glyphosate Mr. Alvarez’s experienced on
a spraying day in the Spring was 0.006 mg/kg/day. As stated in the Plaintiff Fact Sheet, spraying
was less in the Summer and Fall months and “considerably less” in the Winter. Therefore, the
above-stated dose for a spraying event would be the maximum exposure. Based on the
assumption that Mr. Alvarez sprayed 2hr/day once a week, his daily dose was calculated to be
0.003 mg/kg/day. Unquestionably, Mr. Alvarez’s exposure from spraying for nine months of the
year would be substantially less than his springtime spraying.
EPA chronic reference dose (RfD) for Glyphosate is 1.75 mg/kg/day which is “an estimate of the
quantity of chemical that a person could be exposed every day for the rest of their life with no
appreciable risk of adverse health effects.” The EU Acceptable Operator Exposure Limit is 0.1
mg/kg. These dose limits are orders of magnitude above the conservative estimates of exposure.
For example, the calculated average daily dermal absorbed dose is over 800 times lower than the
EPA Reference Dose and over 45 times below the EU limit.
The State of California through the Office of Environmental Health Hazard Assessment
(OEHHA) pursuant to California’s Proposition 65 has established a No Significant Risk Level
(NSRL) for Glyphosate. The NSRL for glyphosate has been set at 1.1 mg/day. This regulatory
limit is also orders of magnitude above my conservatively calculated dermal dose for Mr.
Alvarez.
It is my professional Industrial Hygiene opinion that Mr. Alvarez’s exposure to Glyphosate is
well within governmental established acceptable limits of exposure, if he was exposed at all.
This is based on extremely conservative dermal dose estimates. Based on these calculations, Mr.
Alvarez’s daily dermal dose to Glyphosate from his use of Roundup is well within a lifetime
acceptable dose where ill effects would not be expected.
During my site inspection, I found several large potted plants and numerous birds in Mr.
Alvarez’s yard. It is unknown what products are used, if any, to maintain these large potted
plants and birds. Furthermore, I reserve the right to supplement or amend this report upon any
site inspection of any other properties at which Mr. Alvarez used glyphosate-based herbicides.
   2. Regulatory agencies worldwide have determined there is no carcinogenic risk from
      exposure to Glyphosate-Based Herbicides. IARC concluded that Glyphosate was a
      “probable” carcinogen, a term that IARC defines as “limited” evidence.

Multiple regulatory agencies have reviewed the potential carcinogenicity of Glyphosate and only
one has concluded that Glyphosate is a “probable carcinogen”. The International Agency for
Research on Cancer (“IARC”) concluded Glyphosate was a probable carcinogen based on
limited evidence in humans. [See IARC 2015]. The IARC preamble notes that calling a
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substance a carcinogen under IARC’s process does not quantitate the risk of cancer to people
from exposure to that substance, which may be minimal. The preamble draws the distinction
between “hazard” and “risk” by stating, “the Monographs assess the strength of evidence that an
agent is a cancer hazard. The distinction between hazard and risk is fundamental.” Therefore,
IARC is clear that they did not measure the risk of the probable cancer hazard to humans but
stated that the substance is a probable carcinogen hazard based on limited evidence. [See IARC
Preamble 2019]

Regulatory and scientific agencies from the U.S., Canada, Germany, the E.U., Australia, New
Zealand, Japan, and the United Nations have all found Glyphosate exposure from the use of
Glyphosate-based herbicides not to represent a carcinogenic risk. The proceedings of many of
these agencies span many years were subject to comment and/or peer-review, and were
conducted openly. EPA stated that their most recent “cancer evaluation is more robust than
IARC’s evaluation. IARC’s evaluation only considers data that have been published or accepted
for publication in the openly available literature. As a result, IARC only considered a subset of
the studies...”. [See EPA Interim Decision 2019]. Additionally, these agencies had access to
unpublished data submitted pursuant to regulatory requirements which was not considered by
IARC. It is therefore my professional opinion that unlike the aforementioned regulatory
agencies, IARC did not consider all of the available scientific literature and did not quantitate the
risk from exposure. Therefore it is my professional opinion IARC’s conclusion is different than
many of the other scientific agencies from around the world.

   3. The main route of exposure to Glyphosate via use of Glyphosate-Based Herbicides is
      dermal. Published and unpublished data indicate dermal absorption of Glyphosate is
      Low. The presence of surfactants does not appear to affect dermal absorption.

Industrial Hygienists consider all routes of exposure at the workplace when characterizing
exposure to a chemical or biologic agent. Glyphosate is not volatile and field studies of
applicators of Glyphosate-based herbicides have shown that inhalation exposures to Glyphosate
are minimal. [See Jauhinien 1991, Edmiston 1995]. IARC states “monitoring [for Glyphosate]
in air is not a useful way of determining exposure in workers since most exposure occurs via the
dermal route.” Ingestion would be an inadvertent route of exposure. The main route of exposure
from use of Glyphosate-based herbicides, subject to work practices, appears to be dermal.
ATSDR states that “dermal contact appears to be the major route of exposure to Glyphosate for
people involved in its application.” [See ATSDR 2019, IARC 2015].
Glyphosate is a hydrophilic compound. The skin acts like a barrier to such compounds. Studies
using human skin samples demonstrate that dermal penetration of Glyphosate is “very low.”
Once dermally absorbed, the literature indicates that Glyphosate remains largely unchanged
within the body, is quickly excreted in urine, and does not bioaccumulate.

Multiple studies have examined the dermal absorption of Glyphosate and Glyphosate-based
herbicides [See e.g. Franz 1983, Nielsen 2009, Smith 2014]. Formulated Glyphosate-based
herbicides may contain surfactants such as polyoxyethene tallow amine (POEA) as one example.
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It is my professional Industrial Hygiene opinion that the most relevant of these studies to the
human experience have used human skin in vitro, though there have also been studies using
animal models. Many of the more recent studies have stated that the test methodology used have
been conducted according to OECD guidelines, an internationally recognized protocol for the
testing of chemicals on excised skin.

The rate and percentage of absorption do not appear to be affected by the presence of surfactants
in formulations. Multiple studies indicate that the percentage of Glyphosate dermally absorbed
is affected by diluting the mixture. The presence of surfactants does not appear to significantly
affect absorption. For example, Franz 1983 shows that as the study transitioned from
Glyphosate, to a concentrated form of Roundup®, to a Roundup® spray mix, the percent of
Glyphosate absorbed increased each time even as the absolute amount of Glyphosate absorbed
declined. That’s despite the fact that the amount of surfactant in each formulation went from
none to a high level to a much lower level. Franz states, “absorption of Glyphosate was lowest
from the Roundup Spray Mix and this was in keeping with the much lower concentration of
Glyphosate in the Spray Mix formulation. It should be noted however, that on a relative basis
the percent absorption was actually greater from the Spray Mix formulation than from the other
two. This phenomenon has been observed before with other topically applied materials and is
related to the size of the applied dose. As the dose increases….the percent absorption falls off.”
Clearly, the presence of the surfactants used in Glyphosate-based herbicides does not affect
absorption. Franz concludes that Glyphosate absorption through human skin was 0.03 to 0.15%
and that greater than 92% of the unabsorbed Glyphosate remained on the skin surface where it
was “readily removed” by a water wash. Other studies show similar results [See Ward 2010,
Smith 2014-2015, and Davies, 2015].

The small percentage of Glyphosate which is absorbed appears to quickly leave the body, largely
unmetabolized as mentioned above [ATSDR 2019]. Glyphosate has been found to have a short
half-life in the body. Laboratory studies have shown the majority of an intravenous dose of
Glyphosate administered to monkeys has been eliminated unmetabolized within twenty-four
hours. [Wester 1991; Maibach 1983]. The National Institute of Environmental Health Sciences
National Toxicology Program (NTP) reported that rats administered intravenous doses of


Glyphosate found that 98% of the Glyphosate was excreted in urine during the first twenty-four
hour period. [NTP 1992]. Following a seven day excretion period, Wester examined the bodies
of the topical skin treatment test subjects and determined that “there was no residual doses in
tissues or skin.” [Wester 1991]. In humans, biomonitoring studies show similar results. Peak
urinary excretion comes as soon as 3 hours after task completion and, by 24 hours later, urinary
concentration has fallen to background or near-background levels. [Connolly 2018].

All studies performed on human skin suggest very low dermal absorption. Industrial Hygienists
commonly determine the extent of dermal absorption by a measure of flux value, which is the
rate of absorption through the skin, and the percent absorbed. Franz 1983 and Nielsen 2009 have
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reported the flux between 0.01 to 0.059 [as shown and converted to same units] ug/cm2/hr for
Glyphosate. No study using human skin indicates a percent of absorption greater than 2.2%
[Wester 1991] and most are below 1% [Franz 1983, Smith 2014, Ward 2010]. These results are
as expected for a hydrophilic compound like Glyphosate.


   4. Biomonitoring and passive dosimetry studies confirm that dermal absorption of
      Glyphosate from the use of Glyphosate-Based Herbicides is low and within regulatory
      limits of exposure.
In addition to dermal absorption studies, there are biomonitoring and passive dosimetry studies
that assess exposure and dose of Glyphosate in individuals applying Glyphosate-based herbicides
in a variety of exposure scenarios. These studies are very useful in assessing home and
workplace exposures including the quantity of Glyphosate that may land on the skin of
individuals during product usage and potentially absorb. The dose reported in these studies can
then be compared to toxicological and regulatory levels.

Overall, Glyphosate absorption has been recorded to range from 0.000013 mg/kg/day to 0.00456
mg/kg/day in biomonitoring studies. [See Bleeke 2007, Abdelghani 1995, as reported in
Solomon 2016]. In a 70 kg (approximately 150 pounds) individual, that would calculate to a
systemic daily dose of 0.00091 - 0.319 mg of Glyphosate a day, as follows:




Passive dosimetry studies (studies that use gauze pads applied to the skin or clothing, or cassettes
placed in the breathing zone to capture airborne Glyphosate) reported doses approximately an
order of magnitude above and below the recorded biomonitoring doses described above. That
said, doses recorded by passive dosimetry remain low. [See Lavy 1992, Edmiston 1995].
Compared to regulatory and toxicological levels, absorbed doses of Glyphosate are extremely
low. Acquavella 2004 reports a maximum exposure dose of 0.004 mg/kg in a farmer-applicator,
a dose significantly higher than any other exposure reported in this or other studies.
Interestingly, that applicator was observed by the study authors to have skin contact with
Glyphosate while not wearing gloves and was also observed to smoke cigarettes while handling
Glyphosate (potential for incidental exposure by ingestion). [Acquavella 2004 at Figure 1]. The
dose of 0.004 mg/kg is 437.5 times lower than the EPA RfD of 1.75 mg/kg, and 25 times lower
than the EU Acceptable Operator Exposure Limit of 0.1 mg/kg. [See Tarazona 2017].
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Therefore, it is my professional Industrial Hygiene opinion that the literature reports levels well
within acceptable exposure levels based on biomonitoring and passive dosimetry. Dermal
absorption, the primary route of exposure for Glyphosate, is very low and well below levels that
would be considered of increased risk of ill health.


    5. It is my professional Industrial Hygiene opinion that epidemiology studies of
       environmental health illnesses are stronger when they account for the extent of
       exposure to the alleged stressor. Epidemiologic studies that control for potential
       confounders as well are stronger than studies that do not. Such studies that consider
       exposures and confounding factors confirm the findings of many government
       regulators that there is no increased risk of NHL from the use of Glyphosate.

In a recognized Industrial Hygiene text by DiNardi2, it states that “in occupational epidemiologic
studies, one test for concluding the existence of cause and effect is the presence of an exposure-
response relationship.” [See DeNardi, pp 6-7, 1997] DiNardi further states “confounding is a
type of bias that [may] adversely affect the understanding of an exposure/disease relationship.”
[DiNardi pg 98] Thus, the need for exposure data and the need to control for confounding
variables is important for determining risk of disease. Without consideration for dose and other
causal factors, a study may report an association between a stressor and outcome, without
recognizing a study bias. Unfortunately, the link to illnesses as reported in epidemiologic studies
generally does not consider such variables within the studied cohort. Meta-analyses or pooled
analyses that do not account for these issues also are subject to the same criticism.
Some epidemiological studies reported in the regulatory documents compare the rate of
lymphoma in individuals who “ever” used Glyphosate against those who “never” used
Glyphosate. Those studies do not have empirical exposure data to evaluate exposure levels. For
this report, I have reviewed epidemiological studies on Glyphosate with a focus on individual
studies that take the extent of exposure into account.
Some studies [e.g. Eriksson 2008, McDuffie 2001, Andreotti 2018] used data on yearly or
lifetime days of use to evaluate dose. One can also see these studies referenced in the meta-
analyses [e.g., Pahwa 2019, Zhang 2019]. Days of use without considering the extent of
exposure provides some information, but is still a crude measure of dose. For example,
McDuffie appears to have combined an individual who was exposed to Glyphosate-based
herbicides three times a year with someone who was exposed to Glyphosate 300 times a year.
Assuming those two individuals used Glyphosate-based herbicides in the same manner, the dose
to the latter would be a 100 times greater than the former. On the other hand, if someone who



2
 DiNardi, SR, ed, The Occupational Environment – Its Evaluation and Control, American Industrial Hygiene
Association, Fairfax, VA, 1997
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only used Glyphosate herbicides one day a year with extremely large quantities as opposed to
someone who used it 3 days ayear at a lower quantity, the one day user may very well have had
a larger exposure. Additionally the McDuffie and Enikson studies do not control for
confounding variables that may influence outcome, eg family history of cancer.

Andreotti 2018, using a peer-reviewed methodology as reported in the Dosemeci 2002 and Coble
2011 studies, applied an intensity-weighted dose metric to its evaluation of the relationship
between Glyphosate-based herbicide exposure and NHL. This metric considered the use of
personal protective equipment (PPE) worn by applicators, which is an important variable to
consider as one evaluates intensity of exposure. They also identified method of application.
Though not a "real-time" dose assessment like biomonitoring, recording the use of PPE as one
variable to characterize exposure, it is an important step in understanding whether any dose-
response relationship exists between Glyphosate-based herbicides and cancer. Additionally,
Andreotti controlled for other potential confounders. The results from Andreotti 2018, a relative
risk below 1.0 for each exposure group were reported, suggesting that there is no relationship
between Glyphosate-based herbicides and NHL. Because the Andreotti study considers dose
metrics and because it controls for potential confounding factors, it is my professional Industrial
Hygiene opinion that it is a stronger study than studies like the McDuffie or Eriksson studies for
several reasons such as the Andreotti study is an extremely large cohort study, consisting of
 54,251 pesticide applicators, rather than a case control study with a limited population. Apart
from being the largest cohort study I reviewed, the researchers considered, exposure by
frequency of use, method of application and use of personal protective equipment as well as
considered for other pesticide use.

Statement of Compensation

Joel Cohen's hourly rate for consultation is $350.




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Please contact me if you have any further questions.




   I M. Cohen, MPH, CIH, FAIHA
The Cohen Group

Attachment A: Materials Considered List of Joel Cohen, MPH, CIH, FAIHA
Attachment  B:Dose Calculations
Attachment C: Cuniculum Vitae of Joel Cohen, MPH, CIH, FAIHA
Attachment D: Joel M Cohen 4-Year Trial and Deposition Testimony
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                      ATTACHMENT B

                    DOSE CALCULATIONS
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Based on the testimony of Mr. Alvarez:
Used Roundup Concentrate
Mix 1 cap/gal. Each cap is 6 oz 18% is active ingredient.
Density of glyphosate in solution is 1.19 lb/gal

Usage:
Every 2 days in Spring (assumed to be March through May)
“Less often in Summer and Fall” (assumed 1 day/week for June through November)
“considerably less in Winter” (assumed no spraying)

Spray time in Spring is 4 hours/ day, 3-4 refills of 3 gallon backpack or 9 to 12 gallons
Spray time in Summer and Fall is assumed to be 1 day/week

Based on the above assumptions, Mr. Alvarez’s average yearly usage of the Roundup would be
as follows:




No spraying in Winter months

Total spraying for year:
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Per: Keil, CB, et. al., Mathematical Models for Estimating Occupational Exposure to Chemicals,
AIHA, Chapter 13

Dermal absorbed dose rate per event, as follows:

Event is 4 hrs/day per testimony in Spring
Flux is 5.9 x 10-6 ug/cm2/hr per Nielson 2009 (range is 0.01 to 0.059 in literature)
Surface area exposed skin is 0.505 m2 or ~5000cm2 (assuming front and back of legs are
exposed) see AIHA Table 13.2
PPE is 50% per Oltmanns 2016 (long pants worn)
Weight of Mr. Alvarez is 65Kg (assumed for calculations)




Again using 2 hrs/day for Summer and Fall spraying, Mr. Alvarez’s event dose would be:




Average daily dermal absorbed dose:

Note: Assuming Mr. Alvarez worked 5 days/week
